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                   IN THE UNITED STATES DISTRICT COURT
              NORTHERN DISTRICT OF ILLINOIS, EASTERN DIVISION

HANOVER INSURANCE COMPANY,     )
                               )
     Plaintiff,                )
                               )
v.                             )                       Case No:
                               )
CHICAGO ORNAMENTAL IRON, INC., )
JONATHAN SAMEK, and ENRIQUE    )
MONTES,                        )
                               )
     Defendants.               )

                        COMPLAINT FOR DECLARATORY RELIEF

        NOW COMES Hanover Insurance Company (“Hanover”), by and through its undersigned

counsel, and for its Complaint for Declaratory Relief, pursuant to 28 U.S.C. § 2201, against

Chicago Ornamental Iron, Inc. (“COI”), Jonathan Samek (“Samek”), and Enrique Montes

(“Montes”) (collectively, the “Insureds”), and states as follows:

                                      I. INTRODUCTION

        1.     This lawsuit involves an insurance coverage dispute. Of relevance here, Hanover

issued to COI two “claims made” Private Company Advantage Insurance Policies (collectively,

the “Policies”) for the Policy Periods of: (i) October 8, 2016-17 (the “First Policy”); and (ii) from

October 8, 2017-18 (the “Second Policy”). Subject to its terms and conditions, each of the

Policies afford coverage for Loss (e.g., Defense Expenses, settlements, judgments) as a result of

an “Wage & Hour Claim first made” during the Policy Period. A “Wage & Hour Claim” is

defined to include any “civil proceeding commenced by the service of a complaint.” The Policies

each contain a separate $1 million Limit of Liability; however, with respect to any lawsuit alleging

“Wage & Hour Claim,” the Policies contains a “Defense Expenses only” Sublimit of $100,000

(and not $1 million).

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        2.     On April 28, 2017 – during the First Policy – two named plaintiffs (Rene Garrido

and Sergio Patino) filed a lawsuit (the “Lawsuit”) against the Insureds alleging “Wage & Hour

violation” under the Fair Labor Standards Act (and various the Illinois state law claims), and

specifically alleging “Class and Collective Allegations” and that the Lawsuit involves

“approximately 30 to 40 other employees of Defendants that are similarly situated to Plaintiffs

(hereinafter referred to as the ‘Opt-In Employees’).”

        3.     After the Insured tendered the Lawsuit to Hanover, Hanover agreed to provide its

duty to defend, subject to a reservation of rights, including the First Policy’s $100,000 Sublimit

for a Wage & Hour Claim. During the Second Policy, an additional twenty-two (22) plaintiffs

filed a Motion of Intervention in the Lawsuit seeking to “Opt-In” and on September 18, 2018, the

Court granted the Motion, and thereafter twenty (20) plaintiffs executed “FLSA Opt-In Consent

Forms” whereby these twenty plaintiffs were “joining this lawsuit,” and each plaintiff “will be

bound by any judgment of the court or by any settlement of this lawsuit” (emphasis added).

        4.     Presently, Hanover has paid $100,000 in Defense Expenses related to the Lawsuit

and thereby exhausted the First Policy’s $100,000 Defense Expenses Only Sublimit. However,

based on the Intervention Motion (and other subsequent Motions) that have permitted additional

plaintiffs to “Opt-In” to the Lawsuit, the Insureds have argued that these “Opt-In” plaintiffs: (i)

are a new “Claim” thereby triggering coverage under the Second Policy; and/or (ii) have made

additional and different allegations thereby making new and separate covered “Claims.”

        5.     Hanover has advised the Insureds that the “Opt-In” Motion is part of the same

Lawsuit, or a “single Claim,” and even assuming the “Opt-In” plaintiffs were a new “Claim” or

asserted new allegations, the Policies each contain a “RELATED CLAIMS” provision, which

expressly provides “all Related Claims will be considered as a single Claim made in the Policy


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Period…in which the earliest of such Related Claims was first made…” (emphasis added), and

the Policies define “Related Claims” to mean “all Claims based upon, arising from or in any

way related to the same facts, circumstances, situations, transactions, results, damage or events

or the same series of facts, circumstances, situations, transactions, results, damage or events.”

        6.     From the first day it was filed, the Lawsuit included express allegations for the

potential addition of Opt-In Plaintiffs. Accordingly, the actual intervention of these Opt-In

Plaintiffs to the Lawsuit is not a new “Claim.” Alternatively, even if the Opt-In Plaintiffs are

deemed a new “Claim,” the Opt-In Plaintiffs are certainly based on the “same facts,

circumstances” (etc.), as the Lawsuit and, therefore, would be “Related Claims” and deemed

first made during the First Policy and subject to the First Policy’s $100,000 Sublimit.

        7.     By letter dated July 31, 2019, Hanover requested that the Insureds withdraw its

tender for coverage in excess of the First Policy’s $100,000 Sublimit, and the Insureds have

refused to do so.

        8.     An actual controversy exists between the Insureds and Hanover regarding

Hanover’s purported obligation to pay for the Defense Expenses of the Insureds for the Lawsuit

in excess of the First Policy’s $100,000 Sublimit, or to provide any additional coverage for Loss

arising from the Lawsuit, now that the sublimit is exhausted, and this controversy cannot be

resolved without a declaration of the rights and responsibilities of the parties by this Court.

                                        II. THE PARTIES

        9.     Hanover is a corporation organized under the laws of the State of Delaware with

its principal place of business at 440 Lincoln Street, City of Worcester, in the Commonwealth of

Massachusetts.




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        10.    Upon information and belief, COI is a corporation organized under the laws of the

State of Illinois with its principal place of business in the State of Illinois at 1237-51 W 47th

Street, Chicago, Illinois, 60609.

        11.    Upon information and belief, Samek is a citizen of the State of Illinois.

        12.    Upon information and belief, Montes is a citizen of the State of Illinois.

                              III. JURISDICTION AND VENUE

        13.    This Court has jurisdiction over this action pursuant to 28 U.S.C. § 1332 respecting

diversity jurisdiction insofar as it involves citizens of different states and the amount in

controversy exceeds $75,000, exclusive of interest and costs.

        14.    Venue is appropriate under 28 U.S.C. § 1391 because a substantial part of the

relevant events occurred in this district, including receipt of the Policies by COI, the named

insured under the Policies, as well as being venue of the Lawsuit.

                                    IV. BACKGROUND FACTS

A.      The Hanover 2016-17 Policy

        15.    Hanover issued to COI a Private Company Advantage Insurance Policy, policy

number LHI-D042442-00 for the Policy Period from October 8, 2016 to October 8, 2017 with a

limit of $1,000,000 (the “2016-17 Policy”). A true and correct copy of the 2016-17 Policy is

attached hereto as Exhibit 1, and incorporated by reference herein.

        16.    The 2016-17 Policy identifies six potential “Coverage Parts” (including the

Directors & Officers and Entity Liability (“D&O”) Coverage Part, the Employment Practices

Liability (“EPL”) Coverage Part, the Fiduciary Liability Coverage Part, the Cyber Privacy &

Security Coverage Part, the Crime Coverage Part, and the Kidnap & Ransom Coverage Part);

however, for the 2016-17 Policy, COI only purchased the EPL Coverage Part.


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        17.       Endorsement No. 1 to the 2016-17 Policy is entitled, “WAGE & HOUR

CLAIMS DEFENSE EXPENSE SUBLIMIT,” and contains a “Wage & Hour Claim”

Sublimit that provides a “maximum limit of liability for Defense Expenses” of $100,000.

Specifically, Endorsement No. 1 amends the 2016-17 Policy’s Insuring Agreement, and provides:

        A. Section I. Insuring Agreement is amended to include:

        Wage & Hour Claims Defense Expense Coverage
        The Insurer will pay on behalf of the Insured, Defense Expenses arising out of
        any Wage & Hour Claim first made against the Insured during the Policy Period
        or the Extended Reporting Period, if applicable.
        The Insurer’s maximum limit of liability for Defense Expenses resulting from
        any Wage & Hour Claim shall be $100,000 per Policy Period which shall be part
        of, and not in addition to, the Maximum Aggregate Limit of Liability shown in
        Item 3. of the EPL Declarations and shall be excess of a Retention of $10,000.
        If a matter includes allegations constituting a covered Employment Claim and a
        Wage & Hour Claim then the sublimit above shall not apply and the Maximum
        Aggregate Limit of Liability shown in Item 3. of the EPL Declarations will apply
        so long as such Employment Claim remains part of such matter. If at the time
        such Employment Claim is no longer part of such matter then the sublimit above
        shall apply unless the amount of Defense Expenses incurred at such time exceeds
        the sublimit above. In this event, the Insurer will have no further obligation to pay
        Defense Expenses arising out of such Wage & Hour Claim.
        B. For the purpose of coverage provided by this endorsement:
        Wage & Hour Claim means:
             A. Any:
             1.     Written demand first received by an Insured for monetary or non-
                    monetary relief including a written demand for reinstatement, re-
                    employment, re-engagement or injunctive relief;
             2.     Civil proceeding commenced by the service of a complaint or similar
                    pleading;
             3.     Formal administrative or regulatory proceeding commenced by the
                    filing of charges, formal investigative order or similar document,
                    including a proceeding before the Equal Employment Opportunity
                    Commission or any similar governmental agency;
             4.     Arbitration or mediation proceeding commenced by the receipt of a
                    demand for arbitration or mediation or similar document;
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        which is brought and maintained by or on behalf of a past, present or prospective
        Employee or Independent Contractor of an Insured Entity against an Insured
        for an Wage & Hour Violation, including any appeal therefrom;

        18.    Endorsement No. 1 defines “Wage & Hour Violation” to mean:

        Wage & Hour Violation means an alleged or actual violation of the
        responsibilities, obligations and duties imposed by any federal, state or local
        statutory or common law anywhere in the world including regulations
        promulgated under any such law that governs wage, hour and payroll policies and
        practices, including but not limited to the Fair Labor Standards Act, as amended.

        19.    Endorsement No. 1 also amends the exclusions section of the 2016-17 Policy, and

provides:

        This insurance does not apply to Loss for any Claim:

        For any violation or failure to comply with:

        The responsibilities, obligations, or duties imposed by any federal, state or local
        statutory or common law anywhere in the world including regulations
        promulgated under any such law that governs wage, hour and payroll policies and
        practices, except the Equal Pay Act, including but not limited to the Fair Labor
        Standards Act, as amended. However, this exclusion shall not apply to Defense
        Expenses for any Wage & Hour Defense Costs Coverage as provided in paragraph
        A. of this endorsement.

        20.    Section VI of the Common Terms and Conditions of the 2016-17 Policy contains

a “RELATED CLAIMS” provision, which expressly provides:

        With respect to the Liability Coverage Parts all Related Claims will be
        considered a single Claim made in the Policy Period or Extended Reporting
        Period in which the earliest of such Related Claims was first made or first deemed
        to have been made pursuant to the applicable Coverage Part. All Related Claims
        are subject to the Limits of Liability, Retention and other terms and conditions
        applicable to the earliest Related Claim.

        21.    Section II of the Common Terms and Conditions of the 2016-17 Policy defines

“Related Claims” as the following:

        Related Claims means all Claims based upon, arising from or in any way related
        to the same facts, circumstances, situations, transactions, results, damages or

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        events or the same series of facts, circumstances, situations, transactions, results,
        damage, or events.

 B.     The Hanover 2017-18 Policy

        22.      Hanover issued to COI a Private Company Advantage Insurance Policy, policy

number LHI-D042442-02 for the Policy Period from October 8, 2017 to October 8, 2018 with a

limit of $1,000,000 (the “2017-18 Policy”). A true and correct copy of the 2017-18 Policy is

attached hereto as Exhibit 2, and incorporated by reference herein.

        23.      The 2017-18 Policy identifies six potential “Coverage Parts” (including the D&O

Coverage Part, the EPL Coverage Part, the Fiduciary Liability Coverage Part, the Cyber Privacy

& Security Coverage Part, the Crime Coverage Part, and the Kidnap & Ransom Coverage Part);

however, for the 2017-18 Policy, COI only purchased the EPL Coverage Part and the D&O

Coverage Part.

        24.      With respect to the 2017-18 Policy and its EPL Coverage Part, it contains a word-

for-word identical Endorsement No. 1 as the 2016-17 Policy, which is also entitled “WAGE &

HOUR CLAIMS DEFENSE EXPENSE SUBLIMIT,” and similarly contains a “Wage &

Hour Claim” Sublimit that provides a “maximum limit of liability for Defense Expenses” of

$100,000.

        25.      With respect to the 2017-18 Policy and its Common Terms and Conditions, it

contains a word-for-word identical Section VI. entitled “RELATED CLAIMS” as the 2016-17

Policy, and identical definition of “Related Claims.”

        26.      In addition, with respect to the 2017-18 Policy and its D&O Coverage Part, Section

IV.A.2. contains a “Prior & Pending Proceedings” Exclusion that provides:

        This insurance does not apply to Loss for any Claim:…Based upon, arising out of or in
        any way related to any litigation…pending against any Insured…prior to or on the Prior


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        & Pending Proceeding Date set forth in Item 5 of the D&O Declarations [i.e.,
        “10/08/2017”].

Item 5 of the D&O Declarations states, “PRIOR & PENDING PROCEEDINGS DATES…

10/08/2017”.

        27.    Endorsement No. 1 to the D&O Coverage Part of the 2017-18 Policy contains a

“PAST ACTS EXCLUSION”, which provides:

        This insurance does not apply to Loss for any Claim based upon, arising out of or
        in any way related to any Wrongful Act which occurred on or before 10/08/2017.

        28.    Section IV.A.1. to the D&O Coverage Part of the 2017-18 Policy contains a “Prior

Notice” Exclusion that provides:

        This insurance does not apply to Loss for any Claim: …Based upon, arising out
        of or in any way related to any Claim, Wrongful Act, investigation, proceeding,
        act, event, transaction, decision, fact, circumstance or situation which has been the
        subject of any notice accepted under any similar policy of which this Policy is a
        direct or indirect renewal or replacement.

        29.    Section IV.B.4. to the D&O Coverage Part of the 2017-18 Policy contains an

“Employment Practices” Exclusion that provides:

        This insurance does not apply to Loss for any Claim:…Based upon, arising out of
        or in any way related to any past, present or future actual or potential:

        a. Employment relationship including an employment-related Wrongful Act;

        b. Discrimination against or sexual harassment of any third party;

        c. Violation of federal, state, local or foreign wage and hour laws, including,
        without limitation, the Fair Labor Standards Act.

C.      The Lawsuit

        30.    On August 28, 2017, Plaintiffs Rene Garrido and Sergio Patino filed the Lawsuit

against the Insureds, captioned: Rene Garrido, et al. v. Chicago Ornamental Iron, Inc., et al.,

case no. 17-CV-3236, filed before the United States District Court for the Northern District of


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Illinois, Eastern Division (the “Lawsuit”). A true and correct copy of the Lawsuit is attached as

Exhibit 3, and incorporated by reference.

        31.    The Lawsuit is brought pursuant to the “Fair Labor Standards Act, 29 U.S.C. 201

et seq.”, the “Illinois Minimum Wage Law, 820 ILCS 105/1 et seq.”, and the “Illinois Wage

Payment and Collection Act, 820 ILCS 115/1 et seq.”, and is brought based upon allegations of

“Defendants’ willful failure to compensate Plaintiffs for their overtime hours.” Lawsuit, ¶1.

        32.    The Lawsuit further expressly alleges that, “Defendants’ unlawful compensation

practices have denied Plaintiffs and other similarly situated employees their fairly earned wages.”

Lawsuit, ¶2 (emphasis added).

        33.    The Lawsuit contains a section entitled, “CLASS AND COLLECTIVE

ALLEGATIONS”, and states, “There are approximately 30 to 40 other employees of

Defendants that are similarly situated to Plaintiffs (hereinafter referred to as the ‘Opt-In

Employees’).” Lawsuit, ¶28 (emphasis added).

        34.    The Lawsuit further alleges:

               32. At all times relevant to this Complaint, Plaintiffs were “employees”
               of Defendants as defined by the FLSA, the IMWL, and the IWPCA.

               33. At all relevant times to this Complaint, the Opt-In Employees and the
               class member ‘employees’ of Defendants as defined by the FLSA, the
               IMWL, and the IWPCA.

               36. During the dates of their employment, Defendants directed Plaintiffs
               to work more than 40 hours per week.

               37. During the dates of their employment, Defendants directed the Opt-In
               Employees and the class members to work more than 40 hours per week.

               38. During the dates of their employment, Plaintiffs did in fact work more
               than 40 hours per week. At all relevant times to this Complaint, Plaintiffs
               worked approximately 60-65 hours a week…

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              39. During the dates of their employment, the Opt-In Employees and the
              class members did in fact work more than 40 hours per week. Upon
              information and belief, at all relevant times to this Complaint, the Opt-In
              employees and class members worked approximately 60-65 hours a week.

              40. All of the overtime hours that Plaintiffs worked were done at the
              direction of Defendants.

              41. All of the overtime hours that the Opt-In Employees and the class
              members worked were done at the direction of Defendants.

              42. At all relevant times to this Complaint, Defendants had knowledge that
              Plaintiffs were working overtime.

              43. At all relevant times to this Complaint, Defendants had knowledge that
              the Opt-In Employees and the class members were working overtime.

              44. When Plaintiffs worked more than 40 hours in a given workweek,
              Defendants failed to pay them an hourly rate not less than one and a half
              times their regular hourly rate for all of their overtime hours.

              45. When the Opt-In Employees and class members worked more than 40
              hours in a given workweek, Defendants failed to pay them an hourly rate
              not less than one and a half times their regular hourly rate for all of their
              overtime hours.

              46. During Plaintiffs’ employment, Plaintiffs complained to Defendants
              about not receiving adequate compensation for the overtime hours they
              worked.

              47. During the employment of the Opt-In Employees and the class
              members, the Opt-In Employees and class members complained to
              Defendants about not receiving adequate compensation for the overtime
              hours they worked.

              48. Defendants informed Plaintiffs that if they did not work overtime, they
              would be fired.



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              49. Defendants informed the Opt-In Employees and the class members that
              if they did not work overtime, they would be fired.

              52. Plaintiffs and the Opt-In Employees are similarly situated.

              (a) Plaintiffs and the Opt-In Employees had similar job duties. Plaintiffs
              and the Opt-In employees all worked as welders, metal cutters, metal
              finishers, or performed other similar work. Plaintiffs and the Opt-In
              employees also all worked in the same building.

              (b) Plaintiffs and the Opt-In Employees all had similar pay provisions.
              Plaintiffs and the Opt-In employees were all paid by the hour, and were
              threatened with being fired if they refused to work overtime.

              (c) Plaintiffs and the Opt-In Employees were all victims of a single policy
              created by Defendants to deprive Plaintiffs and the Opt-In Employees of
              their earned overtime wages. During weeks when Plaintiffs and the Opt-In
              Employees worked in excess of 40 hours, Defendants employed the
              following tactics to achieve its unlawful policy:

                 (i) Defendants would reduce the hourly rate of Plaintiffs and the Opt-In
                 Employees to avoid paying them at a rate of one and a half times their
                 regular hourly rate. For example, Plaintiff Rene Garrido’s regular
                 hourly rate was $11 per hour. Exhibit 1. But, when Rene Garrido
                 worked more than 40 hours a week, Defendants reduced his hourly rate
                 to $10.50 per hour, thus compensating him at a rate of $15.75 per hour
                 his overtime hours rather than the required $16.50 per hour. Exhibit 2.

                 (ii) Defendants failed to pay Plaintiffs and the Opt-In employees a rate
                 one and a half times their regular rate for either some or all of the
                 overtime hours they worked. For example, only part of Plaintiff Rene
                 Garrido’s overtime hours were paid at the rate of $15.75 per hour, and
                 some of his overtime hours were paid at a rate of $10.50 per hour and
                 simply labeled “additional” pay on his pay stub. Exhibit 2. Plaintiff
                 Sergio Patino was not paid an overtime rate, and the overtime hours that
                 Defendants did pay him were only paid at a rate of $10.50 per hour and
                 labeled “additional” pay on his pay stub. Exhibit 3.

                 (iii) Defendants refused to pay Plaintiffs and the Opt-In Employees
                 altogether for some of the overtime hours they worked.

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               53. Plaintiffs and the Opt-In Employees all suffered from either some or all
               of the tactics described above that Defendants used to achieve their policy
               of avoiding properly compensating Plaintiffs and the Opt-In Employees for
               the overtime hours they worked.

               54. Neither Plaintiffs nor the Opt-In Employees worked for the Defendants
               in an administrative, professional, or executive capacity.

               55. Plaintiffs and the Opt-In Employees are not exempt from the overtime
               provisions of the FLSA.

               56. Defendants’ failure to pay Plaintiffs and the Opt-In Employees at a rate
               of one and a half times their regular hourly rate for all the hours they
               worked in excess of 40 hours per week violated the FLSA.

               57. Defendants’ failure and refusal to pay overtime wages to Plaintiffs and
               the Opt-In Employees was a willful violation of the FLSA.

(emphasis added).

        35.    On September 18, 2018, twenty-two Intervening Plaintiffs filed “Intervening

Plaintiffs’ Motion to Intervene” in the Lawsuit (the “Motion”). In the Motion, the 22 Intervening

Plaintiffs allege, “[t]he Intervening Plaintiffs’ claims are similar to those of the existing named

Plaintiffs, Rene Garrido and Sergio Patino, to the extent that for example, the Defendants reduced

their hourly compensation rates to avoid paying all overtime wages,” and that “[t]he Intervening

Plaintiffs and Plaintiffs Garrido and Patino are all former or current employees of the Defendants

who were not properly paid for the overtime hours that they worked,” and that “[i]f this Court

were to require the Plaintiffs and Intervening Plaintiffs to file individual actions, then a

multiplicity of actions would result, creating a hardship to this Court and the Defendants.” A true

and correct copy of the Motion is attached as Exhibit 4, and incorporated by reference.

        36.    In the Lawsuit, on September 25, 2018, Honorable Rebecca R. Pallmeyer issued a

Minute Order stating, “Plaintiffs’ motion to intervene is denied without prejudice to appropriate
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opt−ins to be submitted within fourteen (14) days.” A true and correct copy of the Order is

attached as Exhibit 5, and incorporated by reference.

        37.    In the Lawsuit, on October 9, 2018, twenty Plaintiffs separately filed “FSLA OPT-

IN CONSENT FORMS,” wherein they “Consent to be a Party Plaintiff,” and:

        Thereby consent to be an Opt-In Party Plaintiff in the above captioned lawsuit
        against Chicago Ornamental Iron, Inc., its officers, directors, and any other
        individuals who may be personally liable for violations of the Fair Labor Standards
        Act, 29 U.S.C, §§ 201-219, and any other applicable laws. In the past three years,
        I worked as an hourly paid employee at Chicago Ornamental Iron, Inc. I
        understand that by joining this lawsuit, I will be bound by any judgment of the
        court or by any settlement of this lawsuit. I understand that I may choose any
        counsel to represent me if I decide to joint this action. I have had a reasonable
        opportunity to seek counsel of my choosing and I designate Villalobos &
        Associates to represent me in bringing such claim and authorize Villalobos &
        Associates to negotiate the terms of any settlement on my behalf.

A true and correct copy of one of the FSLA Opt-In Consent Forms is attached as Exhibit 6, and

incorporated by reference.

        38.    With respect to the Lawsuit, as of the date of filing this Coverage Lawsuit, no

Amended Complaint has been filed.

        39.    The Lawsuit constitutes a Wage & Hour Claim as this term is defined in both

Hanover policies.

        40.    The Lawsuit is also a Claim seeking the payment of Loss for alleged violation of

or failure to comply with duties imposed by statutes or the common law which govern wage, hour,

and payroll policies and practices.

D.      Hanover Agrees to Defend the Lawsuit

        41.    The Insureds provided notice of the Lawsuit during the 2016-17 Policy, and

Hanover agreed to provide and has provided a defense of the Lawsuit, subject to Endorsement




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No. 1 and the Policy’s $100,000 Sublimit which is the “Insurer’s maximum limit of liability for

Defense Expenses resulting from any Wage & Hour Claim.”

        42.    The Insureds have exhausted the $100,000 Sublimit for Defense Expenses in the

defense of the Lawsuit.

        43.    With the impending exhaustion of the Sublimit, Hanover communicated that it

owes no further obligation to the Insureds to provide any defense or indemnity to them for the

Wage & House Claim which is the subject of the Lawsuit.

        44.    The Insureds have demanded coverage under the 2017-18 Policy for the Lawsuit

notwithstanding Hanover’s exhaustion of its Sublimit under the 2016-2017 Policy and

notwithstanding the fact that no new and unrelated claim has been made by any new underlying

plaintiff.

        45.    An actual controversy exists as to whether Hanover has fulfilled its coverage

obligation to the Insureds under the policies of insurance issued to them by Hanover, which

controversy requires a legal determination by this Court.




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                                          COUNT I
                              (Declaratory Relief: 2016-17 Policy)
                                       (All Defendants)

        46.    Hanover incorporates and restates each and every allegation set forth in Paragraphs

1-45 of this Complaint as if alleged in this Paragraph 46.

        47.    Pursuant to Endorsement No. 1 to the 2016-17 Policy (the “WAGE & HOUR

CLAIMS DEFENSE EXPENSE SUBLIMIT”), the Lawsuit constitutes a “Wage & Hour

Claim” and, therefore, the Lawsuit is subject to a Sublimit that provides the “Insurer’s maximum

limit of liability for Defense Expenses resulting from any Wage & Hour Claim shall be

$100,000.”

        48.    Based on Endorsement No. 1, including both the articulated Sublimit for Defense

Expenses, as well as the added exclusion for Loss arising from claims like those included in the

Lawsuit, once Hanover paid $100,000 in Defense Expenses related to the Lawsuit, Hanover had

no further obligations under the 2016-17 Policy to pay any further Loss and/or Defense Expenses

for the Lawsuit.

        49.    Because an actual controversy exists as to whether Hanover owes the Insureds any

further coverage obligations under the 2016-17 Policy, the parties require a judicial determination

by this Court regarding their respective rights and obligations.

                                         COUNT II
                       (Alternative Declaratory Relief: 2017-18 Policy)
                                      (All Defendants)

        50.    Hanover incorporates and restates each and every allegation set forth in Paragraphs

1-49 of this Complaint as if alleged in this Paragraph 50.

        51.    Alternatively, with respect to the EPL Coverage Part for the 2017-18 Policy, both

EPL Insuring Agreement and Endorsement No. 1’s Insuring Agreement only afford coverage for


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a “Claim first made” or “Wage & Hour Claim first made” during the October 8, 2017-18 Policy

Period. The Lawsuit was filed on April 30, 2017, and is not first made during the October 8,

2017-18 Policy Period and, therefore, is not covered under the EPL Coverage Part of the October

8, 2017-18 Policy.

        52.     Alternatively, even if the addition of the Opt-In Plaintiffs constituted a new

Claim, both the 2016-17 Policy and the 2017-18 Policy contains a “RELATED CLAIMS”

provision and an identical definition of “Related Claims,” and any such new Claim made during

the 2017-18 Policy Period would be a “Related Claim” with the Lawsuit, and deemed “first

made” when “the earliest of such Related Claims was first made,” or during the 2016-17 Policy

Period – and is therefore not covered under the 2017-18 Policy as it is not a claim “first made”

during the 2017-18 Policy Period.

        53.    Alternatively, with respect to the 2017-18 Policy and its D&O Coverage Part, the

Policy’s Insuring Agreements only afford coverage for a “Claim first made” during the October

8, 2017-18 Policy Period. The Lawsuit was filed on April 30, 2017, and is not first made during

the October 8, 2017-18 Policy Period and, therefore, is not covered under the D&O Coverage

Part of the October 8, 2017-18 Policy.

        54.    Alternatively, with respect to the 2017-18 Policy and its D&O Coverage Part, the

Prior & Pending Proceedings Exclusion bars coverage for any Claim based upon, arising out of

or in any way related to any litigation pending against any Insured prior to or on October 8, 2017,

and the Lawsuit was filed and pending as of August 28, 2017, such that the Exclusion applies to

bar coverage for the Lawsuit.

        55.    Alternatively, with respect to the 2017-18 Policy and its D&O Coverage Part,

Endorsement No. 1 contains a “PAST ACTS EXCLUSION”, which bars coverage for any


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Claim based upon, arising out of or in any way related to any Wrongful Act which occurred on

or before October 8, 2017, and because the Lawsuit was filed on August 28, 2017 and contains

allegations of Wrongful Acts before October 8, 2017, the Exclusion applies to bar coverage for

the Lawsuit.

        56.    Alternatively, with respect to the 2017-18 Policy and its D&O Coverage Part,

Section IV.A.1. is a “Prior Notice” Exclusion that bars coverage for any Claim based upon,

arising out of or in any way related to any Claim, Wrongful Act, investigation, proceeding, act,

event, transaction, decision, fact, circumstance or situation which has been the subject of any

notice accepted under any similar policy of which this Policy is a direct or indirect renewal or

replacement,” and Hanover accepted coverage under the 2016-17 Policy, such that the Exclusion

applies to bar coverage for the Lawsuit.

        57.    Alternatively, with respect to the 2017-18 Policy and its D&O Coverage Part,

Section IV.B.4. contains an “Employment Practices” Exclusion that bars coverage for COI for

any Claim:…Based upon, arising out of or in any way related to any past, present or future actual

or potential: a. Employment relationship including an employment-related Wrongful Act, or

violation of federal, state, local or foreign wage and hour laws, including, without limitation, the

Fair Labor Standards Act – such that the Exclusion applies to bar coverage for the Lawsuit.

        58.    Because an actual controversy exists as to whether Hanover owes the Insureds any

further coverage obligations under the 2017-18 Policy, the parties require a judicial determination

by this Court regarding their respective rights and obligations.

        WHEREFORE, Hanover respectfully requests that this Court enter judgment in Hanover’s

favor and against Insureds, declaring that with Hanover’s payment of the $100,000 in Defense

Expenses related to the Lawsuit under the 2016-17 Policy, that Hanover has no further duty to


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pay Defense Expenses for the defense of the Insureds related to the Lawsuit under the 2016-17

Policy and the 2017-18 Policy, and no duty to indemnify the Insureds related to the Lawsuit

under the 2016-17 Policy and the 2017-18 Policy, and that this Court to grant Hanover such other

and further relief as this Court deems just and equitable under the circumstances.

Dated: August 26, 2019                       Respectfully submitted,


                                         By: /s/ James K. Thurston
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